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 8                                  UNITED STATES DISTRICT COURT
 9                                  EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                        No. 2:13-CR-217 KJM
12                     Plaintiff,
13          v.
14   TERESA MARIE MARTY, et al.
15                     Defendants.
16   ___________________________________
17   UNITED STATES OF AMERICA,                        No. 2:13-CR-311 JAM
18                     Plaintiff,
19          v.                                        RELATED CASE ORDER
20   ROBERT ELDON ROBERTSON, et al.,
21                     Defendants.
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24                  Examination of the above-captioned actions reveals that they are related within the
25   meaning of Local Rule 123(a). Here, “both actions involve similar questions of fact and the same
26   question of law and their assignment to the same Judge or Magistrate Judge is likely to effect a
27   substantial savings of judicial effort.” Local Rule 123(a)(3). Accordingly, the assignment of
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        Case 2:13-cr-00311-KJM Document 29 Filed 12/20/13 Page 2 of 2


 1   these matters to the same judge is likely to effect a substantial savings of judicial effort and is
 2   likely to be convenient for the parties.
 3                  The parties should be aware that relating cases under Rule 123 causes the actions
 4   to be assigned to the same judge – it does not consolidate the actions. Under Rule 123, related
 5   cases are generally assigned to the judge to whom the first filed action was assigned.
 6                  As a result, it is hereby ORDERED that Cr. No. S-13-311 JAM is reassigned from
 7   the Honorable John A. Mendez to the undersigned. Henceforth, the caption on documents filed in
 8   the reassigned case shall be shown as: Cr. No. S-13-311 KJM.
 9                  It is further ORDERED that the Clerk of the Court make appropriate adjustment in
10   the assignment of criminal cases to compensate for this reassignment.
11                  IT IS SO ORDERED.
12   DATED: December 19, 2013.
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                                                UNITED STATES DISTRICT JUDGE
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